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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig        *                      MDL No. 2179
       “Deepwater Horizon” in the Gulf *
       of Mexico, on April 20, 2010    *                      Section “J”
                                       *
Applies to:                            *                      JUDGE BARBIER
All Cases                              *
                                       *                      MAGISTRATE SHUSHAN


                      FINAL JUDGMENT PURSUANT TO RULE 54(b)


       On January 20, 2012, this Court issued an Order granting Dril-Quip Inc.’s Motion for

Summary Judgment Against All Claims (the “Order”). (Rec. Doc. 5306). On motion of Dril-

Quip, Inc. (“Dril-Quip”), the Court now rules that the Order is a final judgment pursuant to

Federal Rule of Civil Procedure 54(b).

       This final judgment is compelled by the specific holding of this Court’s January 20, 2012

Order that there is no evidence showing that any equipment manufactured by Dril-Quip, Inc.

played any role in causing or contributing to the blowout. Accordingly, this Court ordered that

all claims asserted against Dril-Quip, Inc. are dismissed with prejudice.

       There being no just reason for delay and good cause appearing, a final judgment is hereby

entered, under Fed. R. Civ. P. 54(b), in favor of Dril-Quip against all claims and in all cases.

       IT IS ORDERED that final judgment is entered in favor of Dril-Quip, Inc. and all claims

asserted against Dril-Quip, Inc. are dismissed with prejudice for the reasons stated in the order

dated January 20, 2012 (Rec. Doc. 5306).


New Orleans, Louisiana this _____ day of March, 2012.


                                                      ____________________________
                                                      United States District Judge


                                           EXHIBIT A
